IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

AMY BRYANT, M.D.,
Plaintiff,

v. 1:23-CV-77
JOSHUA HL. STEIN, JEFF NIEMAN,
KODY H. KINSLEY, MICHAUX R.
KILPATRICK, MD, PHD,
CHRISTINE M, KHANDELWAL,
DO, DEVDUTTA G. SANGVAL,
MD, MBA, JOHN W. RUSHER, MD,
JD, WILLIAM M. BRAWLEY, W.
HOWARD HALL, MD, SHARONA
Y. JOHNSON, PHD, FNP-BC,
JOSHUA D,. MALCOLM, JD,
MIGUEL A. PINEIRO, PA-C, MHPE,
MELINDA H. PRIVETTE, MD, JD,
ANURADHA RAO-PATEL, MD, and
ROBERT RICH, JR., MD,

Defendants,
v.

TIMOTHY K. MOORE and PHILIP
E. BERGER,

Nem mee Ne Se ee ee el Nicer” meee” ee Sine” nee” Nomar” ee Se! ee” el ne” ge” eel” pee” ee” Nee” net Nel” are!” Scare! eee”

Intervenor-Defendants.

JUDGMENT AND PERMANENT INJUNCTION

For the reasons set forth in the Memorandum Opinion and Order filed on April 30,
2024, itis hereby ORDERED and ADJUDGED that:
(1) The following provisions of North Carolina law are preempted by federal

law:

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a. N.C. Gen. Stat. § 90-21.83A, § 90-21.83B, § 90-21.93, and any other
provisions of North Carolina law, to the extent they prohibit any
healthcare provider other than a licensed physician from providing
mifepristone;

b. N.C. Gen, Stat. § 14-44.1, § 90-21.83A, § 90-21.83B, and any other
provisions of North Carolina law, to the extent they require that
mifepristone be provided in person;

c. N.C. Gen. Stat. § 90-21.83A, § 90-21.83B, § 90-21.93, and any other
provisions of North Carolina law, to the extent they require scheduling an
in-person follow-up visit after providing mifepristone or efforts to ensure
such a follow-up appointment; and

d. N.C. Gen. Stat. § 90-21.93, and any other provisions of North Carolina
law, to the extent they require the reporting of non-fatal adverse events
related to mifepristone to the FDA.

(2) Defendants, their agents and successors in office, and all other persons
included in FED. R. Cry. P. 65(d}(2) are hereby ENJOINED and prohibited
from:

a. Enforcing—by civil action, criminal proceeding, administrative action or
proceeding, or any other way—the provisions of North Carolina law
identified as preempted in paragraph (1);

b. Penalizing—by civil action, criminal proceeding, administrative action or

proceeding, or any other way---anyone for failure to comply with the

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provisions of North Carolina law identified as preempted in paragraph
(1); and
c. Applying, imposing, or requiring compliance with, implementing, or
catrying out in any way the provisions of North Carolina law identified
as preempted in paragraph (1).
The defendant-intervenors are entitled to judgment on the remaining provisions of
North Carolina law challenged by the plaintiff, which are not preempted. Those remaining
claims are DISMISSED WITH PREJUDICE.

This the 3rd day of June, 2024.

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UNITED STATES CHIEF DISTRICT JUDGE

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